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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X

UNITED STATES OF AMERICA,                                     14 Cr. 68 (KBF)

                                   Plaintiff,                 DECLARATION OF PAUL
                                                              GRANT IN SUPPORT OF
                                                              REQUEST FOR PARTIAL
                                                              UNSEALING OF MAGISTRATE’S
                                                              FILES
                            -v-

ROSS WILLIAM ULBRICHT,

                                   Defendant.

----------------------------------------------------X

        I, Paul Grant, pursuant to 28 U.S.C. § 1746, hereby affirm under penalty of perjury:

I am an attorney licensed in the State of Colorado and admitted pro hac vice in this case for

purposes of my representation of Ross Ulbricht in this matter. I state the following to be true:

1. I have examined all of the discovery received from trial counsel and from the defendant in

this case, and I believe that to be all of the discovery produced by the government in this case.

2. The government has declined my request to provide me with a list of all of the discovery they

produced to the defense in this case.

3. I have reviewed the discovery available to me from trial counsel and the defendant, to the

best of my ability.

4. I have located in the discovery five pen-trap applications and orders, each order having been

executed by a magistrate in the SDNY.

5. I have located in the discovery, one folder which contains pen-trap data (“PRTT data”)
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apparently collected pursuant to the 9/17/2013 Pen Trap Order, in Case No. 13 MAG 2236. That

is the only PRTT data I have located in the discovery.

6. I have examined the data in the folder identified in par. 5, and to the best of my ability to

decipher that data, using the open source software tool Wireshark, that data appears to be data

that would have been collected pursuant to the 9/17/2013 Order, an order requring Comcast to

collect the data and assist the Secret Service with that collection.

7. Based on my review of the limited PRTT data that was produced in discovery, that data did

not appear to capture MAC addresses of devices on the local network, nor did it appear to

capture communications to and from the device on the local network that was associated with a

particular MAC address, thus this data does not appear to have been collected pursuant to

authorization from any of the three FBI pen-trap orders.

8. I have requested from the government the data collected from all five pen-trap orders, but I

also informed them that I think I already have the data collected pursuant to the 9/17/2013 Order.

9. The government responded to my request for the missing pen register and trap and trace data

(“PRTT data”) by stating they had no obligation to provide the data requested but that they

would see if they could locate additional PRTT data in FBI files and they would disclose it to the

defense if they could find it. Their promise to look for the missing PRTT data in FBI files

implies that the AUSA did not have the PRTT data in their files, either.

10. On February 2, 2018, AUSA Eun Young Choi advised me that the government has now

located some pen register and trap and trace data (“PRTT data”) (collected in the investigation in

this case), and they will be sending it to me. I do not know the sources of that data, nor what the

data will contain.
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       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

Executed this 5th day of February, 2018.


                                                                     /s/ Paul Grant
                                                                     Paul Grant
